                 IN THE UNITED STATES DISTRICT COURT FOR THE
                         WESTERN DISTRICT OF MISSOURI
                              SOUTHERN DIVISION

 UNITED STATES OF AMERICA,

                               Plaintiff,

        v.                                        No. 14-03038-01-CR-S-RK

 MARTY LAYNE BRICKEY,

                               Defendant.

                                     PLEA AGREEMENT

       Pursuant to Rule 11(c)(1)(B) of the Federal Rules of Criminal Procedure, the parties

described below have entered into the following plea agreement:

       1.      The Parties. The parties to this agreement are the United States Attorney’s Office

for the Western District of Missouri (otherwise referred to as “the Government” or “the United

States”), represented by Timothy A. Garrison, United States Attorney, Patrick Carney, Assistant

United States Attorney, Casey Clark, Assistant United States Attorney, and the defendant, Marty

Layne Brickey (“the defendant”), represented by Justin K. Gelfand.

       The defendant understands and agrees that this plea agreement is only between him and

the United States Attorney for the Western District of Missouri, and that it does not bind any other

federal, state or local prosecution authority or any other government agency, unless otherwise

specified in this agreement.

       2.      Defendant’s Guilty Plea. The defendant agrees to and hereby does plead guilty to

Count 24 of the superseding indictment, charging him with a violation of Title 26, United States

Code, Section 7202, that is, willful failure to collect or pay over tax. By entering into this plea




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agreement, the defendant admits that he knowingly committed this offense, and is, in fact, guilty

of this offense.

        3.         Factual Basis for Guilty Plea. The parties agree that the facts constituting the

offense to which the defendant is pleading guilty are as follows:

        Interzone Entertainment, LLC (“Interzone”) was a Missouri company registered
        with the Missouri Secretary of State with offices in Springfield, Missouri; Chicago,
        Illinois; Australia; Brazil; and China. During calendar year and tax year 2009,
        Interzone’s principal place of business was in Springfield, Missouri, which is
        within the Western District of Missouri. During calendar year and tax year 2009,
        Marty Brickey was a resident of Republic, in Greene County, Missouri, which is
        also within the Western District of Missouri.

        Interzone, a limited liability company, was required to deduct and collect from the
        total taxable wages of its employees federal income taxes and Federal Insurance
        Contributions Act taxes (“payroll taxes”), and to pay over these payroll taxes to the
        Internal Revenue Service.

                                        Second Quarter of 2009

        During the Second Quarter of 2009, Marty Brickey was the president of Interzone
        and the Internal Revenue Service was an agency of the United States Department
        of the Treasury responsible for assessing and collecting federal taxes including
        payroll taxes. In his capacity as the president of the company, Marty Brickey was
        a “responsible person,” that is, he had the ultimate corporate responsibility to
        collect and pay over to the IRS Interzone’s payroll taxes. While Interzone utilized
        the services of a professional accounting firm and a payroll tax vendor to assist with
        these responsibilities, Marty Brickey was responsible as a matter of law to comply
        with Interzone’s payroll tax obligations and he knew he had a duty to collect and
        pay over payroll taxes in his capacity as the president of the company.

        Interzone collected payroll taxes using traditional withholding methodology with
        the assistance of accounting and payroll professionals and outside vendors.
        However, for the Second Quarter of 2009, Marty Brickey willfully—that is,
        voluntarily and intentionally, in violation of a known legal duty—failed to pay over
        payroll taxes to the IRS in the amount of $15,031.78.




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       4.        Use of Factual Admissions and Relevant Conduct.                   The defendant

acknowledges, understands and agrees that the admissions contained in paragraph 3 and other

portions of this plea agreement will be used for the purpose of determining his guilt and advisory

sentencing range under the United States Sentencing Guidelines (“U.S.S.G.”), including the

calculation of the defendant’s offense level in accordance with U.S.S.G. § 1B1.3(a)(2). The

defendant and the Government acknowledge, understand, and agree that only the conduct charged

in Counts 24 through 30 of the superseding indictment may be considered as “relevant conduct”

pursuant to U.S.S.G. § 1B1.3(a)(2) in calculating the offense level for the charge to which he is

pleading guilty. The parties agree that any other dismissed counts of the original indictment or the

superseding indictment, as well as all other uncharged, related criminal activity will not be

considered as relevant conduct for purposes of sentencing.

       5.        Statutory Penalties. The defendant understands that, upon his plea of guilty to

Count 24 of the superseding indictment, charging him with willful failure to collect or pay over

tax, pursuant to Title 26, United States Code, Section 7202, the minimum penalty the Court may

impose is not less than probation, while the maximum penalty the Court may impose is not more

than five years’ imprisonment, not more than three years’ supervised release, a $250,000 fine, an

order of restitution, and a $100 mandatory special assessment, which must be paid in full at the

time of sentencing. The defendant further understands that this offense is a Class D felony.

       6.        Sentencing Procedures. The defendant acknowledges, understands and agrees to

the following:

              a.     in determining the appropriate sentence, the Court will consult and
       consider the United States Sentencing Guidelines promulgated by the United States
       Sentencing Commission; these Guidelines, however, are advisory in nature, and the
       Court may impose a sentence either less than or greater than the defendant’s
       applicable Guidelines range, unless the sentence imposed is “unreasonable”;

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              b.     the Court will determine the defendant’s applicable Sentencing
       Guidelines range at the time of sentencing;

              c.      in addition to a sentence of imprisonment, the Court may impose a
       term of supervised release of up to three years;

                d.     if the defendant violates a condition of his supervised release, the
       Court may revoke his supervised release and impose an additional period of
       imprisonment of up to two years without credit for time previously spent on
       supervised release. In addition to a new term of imprisonment, the Court also may
       impose a new period of supervised release, the length of which cannot exceed three
       years, less the term of imprisonment imposed upon revocation of the defendant’s
       first supervised release;

              e.      the Court may impose any sentence authorized by law, including a
       sentence that is outside of, or departs from, the applicable Sentencing Guidelines
       range;

               f.      any sentence of imprisonment imposed by the Court will not allow
       for parole;

              g.     the Court is not bound by any recommendation regarding the
       sentence to be imposed or by any calculation or estimation of the Sentencing
       Guidelines range offered by the parties or the United States Probation Office; and

               h.     the defendant may not withdraw his guilty plea solely because of the
       nature or length of the sentence imposed by the Court.

       7.      Government’s Agreements. Based upon evidence in its possession at this time,

the United States Attorney’s Office for the Western District of Missouri, as part of this plea

agreement, agrees not to bring any additional charges against the defendant for any federal criminal

offenses related to the willful failure to collect or pay over taxes for which it has venue and which

arose out of the defendant’s conduct described above. Additionally, the United States Attorney

for the Western District of Missouri agrees to dismiss the original indictment, as well as Counts 1

through 23, and Counts 25 through 30 of the superseding indictment at sentencing.




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        The defendant understands that this plea agreement does not foreclose any prosecution for

an act of murder or attempted murder, an act or attempted act of physical or sexual violence against

the person of another, or a conspiracy to commit any such acts of violence or any criminal activity

of which the United States Attorney for the Western District of Missouri has no knowledge.

       The defendant recognizes that the United States’ agreement to forego prosecution of all of

the criminal offenses with which the defendant might be charged is based solely on the promises

made by the defendant in this agreement. If the defendant breaches this plea agreement, the United

States retains the right to proceed with the original charges and any other criminal violations

established by the evidence. The defendant expressly waives his right to challenge the initiation

of the dismissed or additional charges against him if he breaches this agreement. The defendant

expressly waives his right to assert a statute of limitations defense if the dismissed or additional

charges are initiated against him following a breach of this agreement. The defendant further

understands and agrees that, if the Government elects to file additional charges against him

following his breach of this plea agreement, he will not be allowed to withdraw his guilty plea.

       8.      Preparation of Presentence Report. The defendant understands the United States

will provide to the Court and the United States Probation Office a government version of the

offense conduct, specifically as it relates to Counts 24 through 30. The defendant does not admit

to any criminal acts regarding Counts 1 through 23 of the superseding indictment and the

Government does not allege any criminal conduct on the part of the defendant arising from the

original indictment or Counts 1 through 23 of the superseding indictment. The Government’s

version of the offense conduct may include information concerning the background, character and

conduct of the defendant, including the entirety of his criminal activities as it relates only to his

failure to collect or pay over taxes. The defendant understands these disclosures are specifically

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limited to the count to which he has pleaded guilty and will not include any information related to

those counts dismissed or any uncharged offenses. The United States may respond to comments

made or positions taken by the defendant or the defendant’s counsel, and to correct any

misstatements or inaccuracies.     The United States further reserves its right to make any

recommendations it deems appropriate regarding the disposition of this case, subject only to any

limitations set forth in this plea agreement. The United States and the defendant expressly reserve

the right to speak to the Court at the time of sentencing pursuant to Rule 32(i)(4) of the Federal

Rules of Criminal Procedure.

       9.      Withdrawal of Plea. Either party reserves the right to withdraw from this plea

agreement for any or no reason at any time prior to the entry of the defendant’s plea of guilty and

its formal acceptance by the Court. In the event of such withdrawal, the parties will be restored to

their pre-plea agreement positions to the fullest extent possible. However, after the plea has been

formally accepted by the Court, the defendant may withdraw his plea of guilty only if the Court

rejects the plea agreement, or if the defendant can show a fair and just reason for requesting the

withdrawal. The defendant understands that, if the Court accepts his plea of guilty and this plea

agreement but subsequently imposes a sentence that is outside the defendant’s applicable

Sentencing Guidelines range, or imposes a sentence that the defendant does not expect, like or

agree with, he will not be permitted to withdraw his plea of guilty.

       10.     Agreed Guidelines Applications.          With respect to the application of the

Sentencing Guidelines to this case, the parties stipulate and agree as follows:

              a.     The Sentencing Guidelines do not bind the Court and are advisory
       in nature. The Court may impose a sentence that is either above or below the
       defendant’s applicable Guidelines range, provided the sentence imposed is not
       “unreasonable”;


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        b.      The applicable Guidelines section for the offense of conviction is
U.S.S.G. § 2T4.1(F), which provides for a base offense level of 16 because the tax
loss, including all relevant conduct, is more than $100,000 and less than $250,000;

        c.       The defendant has admitted his guilt and clearly accepted
responsibility for his actions, and has assisted authorities in the investigation or
prosecution of his own misconduct by timely notifying authorities of his intention
to enter a plea of guilty, thereby permitting the Government to avoid preparing for
trial and permitting the Government and the Court to allocate their resources
efficiently. Therefore, he is entitled to a 3-level reduction pursuant to § 3E1.1 of
the Sentencing Guidelines. The Government, at the time of sentencing, will file a
written motion with the Court to that effect, unless the defendant: (1) fails to abide
by all of the terms and conditions of this plea agreement and his pretrial release; or
(2) attempts to withdraw his guilty plea, violates the law, or otherwise engages in
conduct inconsistent with his acceptance of responsibility;

       d.       The parties agree that the defendant’s criminal history category is
Category “I”. The parties agree that this estimate is not binding on the Court, and
the Court will determine his applicable criminal history category after receipt of the
presentence investigation report prepared by the United States Probation Office;

       e.      The parties agree based on the aforementioned offense level of “16”
and a criminal history category of “I”, the appropriate Guideline range is between
12 to 18 months imprisonment.

         f.    The parties agree that no additional enhancements or adjustments
apply.

        g.      The defendant understands that the estimate of the parties with
respect to the Guidelines computation set forth in the subsections of this paragraph
does not bind the Court or the United States Probation Office with respect to the
appropriate Guidelines levels. Additionally, the failure of the Court to accept these
stipulations will not, as outlined in paragraph 9 of this plea agreement, provide the
defendant with a basis to withdraw his plea of guilty;

        h.     The United States agrees not to seek an upward departure from the
Guidelines or a sentence outside the Guidelines range, and the defendant is free to
request any sentence he believes is appropriate, including but not limited to a
sentence of probation. The agreement by the United States to not seek a departure
from the Guidelines is not binding upon the Court or the United States Probation
Office, and the Court may impose any sentence authorized by law, including any
sentence outside the applicable Guidelines range that is not “unreasonable”;

       i.     The defendant consents to judicial fact-finding by a preponderance
of the evidence for all issues pertaining to the determination of the defendant’s

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       sentence, including the determination of any mandatory minimum sentence
       (including the facts that support any specific offense characteristic or other
       enhancement or adjustment), and any legally authorized increase above the normal
       statutory maximum. The defendant waives any right to a jury determination beyond
       a reasonable doubt of all facts used to determine and enhance the sentence imposed,
       and waives any right to have those facts alleged in the indictment. The defendant
       also agrees that the Court, in finding the facts relevant to the imposition of sentence,
       may consider any reliable information, including hearsay; and

              j.      The defendant understands and agrees that the factual admissions
       contained in paragraph 3 of this plea agreement, and any admissions that he will
       make during his plea colloquy, support the imposition of the agreed upon
       Guidelines calculations contained in this agreement.

       11.     Change in Guidelines Prior to Sentencing. The defendant agrees that, if any

applicable provision of the Guidelines changes after the execution of this plea agreement, then any

request by the defendant to be sentenced pursuant to the new Guidelines will make this plea

agreement voidable by the United States at its option. If the Government exercises its option to

void the plea agreement, the United States may charge, reinstate, or otherwise pursue any and all

criminal charges that could have been brought but for this plea agreement.

       12.     Government’s Reservation of Rights. The defendant understands that the United

States expressly reserves the right in this case to:

               a.     oppose or take issue with any position advanced by the defendant at
       the sentencing hearing which might be inconsistent with the provisions of this plea
       agreement;

              b.     comment on the evidence supporting the charge in Count 24 within
       the superseding indictment;

               c.     oppose any arguments and requests for relief the defendant might
       advance on an appeal from the sentence imposed, and that the United States remains
       free on appeal or collateral proceedings to defend the legality and propriety of the
       sentence actually imposed, even if the Court chooses not to follow any
       recommendation made by the United States; and

               d.      oppose any post-conviction motions for reduction of sentence, or
       other relief.

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       13.     Waiver of Constitutional Rights.             The defendant, by pleading guilty,

acknowledges that he has been advised of, understands, and knowingly and voluntarily waives the

following rights:

               a.      the right to plead not guilty and to persist in a plea of not guilty;

             b.      the right to be presumed innocent until his guilt has been established
       beyond a reasonable doubt at trial;

               c.     the right to a jury trial, and at that trial, the right to the effective
       assistance of counsel;

               d.      the right to confront and cross-examine the witnesses who testify
       against him;

               e.      the right to compel or subpoena witnesses to appear on his behalf;
       and

              f.      the right to remain silent at trial, in which case his silence may not
       be used against him.

       The defendant understands that, by pleading guilty, he waives or gives up those rights and

that there will be no trial. The defendant further understands that, if he pleads guilty, the Court

may ask him questions about the offense to which he pleaded guilty, and if the defendant answers

those questions under oath and in the presence of counsel, his answers may later be used against

him in a prosecution for perjury or making a false statement. The defendant also understands that

he has pleaded guilty to a felony offense and, as a result, will lose his right to possess a firearm or

ammunition and might be deprived of other rights, such as the right to vote or register to vote, hold

public office, or serve on a jury.

      14.      Waiver of Appellate and Post-Conviction Rights.

               a.       The defendant acknowledges, understands and agrees that, by
       pleading guilty pursuant to this plea agreement, he waives his right to appeal or
       collaterally attack a finding of guilt following the acceptance of this plea agreement,

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       except on grounds of (1) ineffective assistance of counsel; or (2) prosecutorial
       misconduct; and

               b.      The defendant expressly waives his right to appeal his sentence,
       directly or collaterally, on any ground except claims of: (1) ineffective assistance
       of counsel; (2) prosecutorial misconduct; or (3) an illegal sentence. An “illegal
       sentence” includes a sentence imposed in excess of the statutory maximum, but
       does not include less serious sentencing errors, such as a misapplication of the
       Sentencing Guidelines, an abuse of discretion, or the imposition of an unreasonable
       sentence. However, if the United States exercises its right to appeal the sentence
       imposed as authorized by 18 U.S.C. § 3742(b), the defendant is released from this
       waiver and may, as part of the Government’s appeal, cross-appeal his sentence as
       authorized by 18 U.S.C. § 3742(a) with respect to any issues that have not been
       stipulated to or agreed upon in this agreement.

       15.     Financial Obligations.      By entering into this plea agreement, the defendant

represents that he understands and agrees to the following financial obligations:

              a.       The Court may order restitution to the victim of the offense to which
       the defendant is pleading guilty as a condition of probation or supervised release.
       This restitution is due and payable immediately upon order of the Court. The
       defendant agrees that the Court may order restitution in connection with the conduct
       charged in Counts 24 through 30 of the superseding indictment in the amount of
       $114,449.96, which will be paid to the Internal Revenue Service. As restitution is
       not mandatory under Title 26 of the United States Code, the parties agree to jointly
       recommend that restitution to the IRS be ordered as a condition of probation or
       supervised release.

               b.     The parties agree that pursuant to Title 18, United States Code,
       Section 3663A(a)(3), the Court must order restitution in any criminal case to the
       extent agreed to by the parties in the plea agreement.

               c.      The parties agree that the Court must order restitution in connection
       with investments made by parties to the defendant and/or entities with which the
       defendant was associated in the amount of $539,260.00. This agreement is made
       between the parties as a part of this plea agreement but there is no criminal liability
       being associated with the defendant’s decision to pay this portion of the restitution
       judgment and the defendant is doing so entirely of his own volition. Further, the
       defendant denies any criminal or civil liability arising from his agreement to pay
       this portion of the restitution order and the United States does not allege any
       criminal culpability whatsoever regarding the defendant’s agreement to pay this
       portion of the restitution order. With regards to the restitution owed to those parties
       related to investments made to the defendant and/or entities with which the
       defendant was associated, $470,200.00 will be paid aggregately to J.P.M., W.H.M.,

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and W.F.M., while the remaining $69,060.00 will be paid to P.B. Finally, while
the parties have agreed that the defendant will pay the aforementioned restitution
to the investors, this agreement does not constitute any admission of criminal
culpability or civil liability on the part of the defendant and the United States does
not allege any criminal culpability on the part of the defendant with respect to
investments.

       d.     The United States may use the Federal Debt Collection Procedures
Act and any other remedies provided by law to enforce any restitution order that
may be entered as part of the sentence in this case and to collect any fine;

         e.     The defendant will fully and truthfully disclose all assets and
property in which he has any interest, or over which the defendant exercises control,
directly or indirectly, including assets and property held by a spouse, nominee or
other third party. The defendant’s disclosure obligations are ongoing, and are in
force from the execution of this agreement until the defendant has satisfied the
restitution order in full;

        f.      Within ten (10) days of the execution of this plea agreement, at the
request of the USAO, the defendant agrees to execute and submit: (1) a Tax
Information Authorization form; (2) an Authorization to Release Information; (3)
a completed financial disclosure statement; and (4) copies of financial information
that the defendant submits to the U.S. Probation Office. The defendant understands
that compliance with these requests will be taken into account when the United
States makes a recommendation to the Court regarding the defendant's acceptance
of responsibility;

        g.      At the request of the USAO, the defendant agrees to undergo any
polygraph examination the United States might choose to administer concerning
the identification and recovery of substitute assets and restitution;

        h.      The defendant hereby authorizes the USAO to obtain a credit report
pertaining to him to assist the USAO in evaluating the defendant’s ability to satisfy
any financial obligations imposed as part of the sentence;

        i.      The defendant understands that a Special Assessment will be
imposed as part of the sentence in this case. The defendant promises to pay the
Special Assessment of $100.00 by submitting a satisfactory form of payment to the
Clerk of the Court prior to appearing for the sentencing proceeding in this case.
The defendant agrees to provide the Clerk’s receipt as evidence of his fulfillment
of this obligation at the time of sentencing;

       j.     The defendant certifies that he has made no transfer of assets or
property for the purpose of: (1) evading financial obligations created by this
Agreement; (2) evading obligations that may be imposed by the Court; or (3)

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       hindering efforts of the USAO to enforce such financial obligations. Moreover, the
       defendant promises that he will make no such transfers in the future; and

               k.       In the event the United States learns of any intentional
       misrepresentation in the financial disclosure statement, or of any asset in which the
       defendant had an interest at the time of this plea agreement that is intentionally not
       disclosed in the financial disclosure statement, and in the event such
       misrepresentation or nondisclosure changes the estimated net worth of the
       defendant by ten thousand dollars ($10,000.00) or more, the United States may at
       its option: (1) choose to be relieved of its obligations under this plea agreement; or
       (2) let the plea agreement stand, collect the full forfeiture, restitution and fines
       imposed by any criminal or civil judgment, and also collect 100% (one hundred
       percent) of the value of any previously undisclosed assets. The defendant agrees
       not to contest any collection of such assets. In the event the United States opts to
       be relieved of its obligations under this plea agreement, the defendant’s previously
       entered plea of guilty shall remain in effect and cannot be withdrawn.

       16.     Waiver of FOIA Request. The defendant waives all of his rights, whether asserted

directly or by a representative, to request or receive from any department or agency of the United

States any records pertaining to the investigation or prosecution of this case including, without

limitation, any records that may be sought under the Freedom of Information Act, 5 U.S.C. § 552,

or the Privacy Act of 1974, 5 U.S.C. § 552a.

       17.     Waiver of Claim for Attorney’s Fees. The defendant waives all of his claims

under the Hyde Amendment, 18 U.S.C. § 3006A, for attorney’s fees and other litigation expenses

arising out of the investigation or prosecution of this matter.

       18.     Defendant’s Breach of Plea Agreement. If the defendant commits any crimes,

violates any conditions of release, or violates any term of this plea agreement between the signing

of this plea agreement and the date of sentencing, or fails to appear for sentencing, or if the

defendant provides information to the Probation Office or the Court that is intentionally

misleading, incomplete or untruthful, or otherwise breaches this plea agreement, the United States




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will be released from its obligations under this agreement. The defendant, however, will remain

bound by the terms of the agreement, and will not be allowed to withdraw his plea of guilty.

       The defendant also understands and agrees that, in the event he violates this plea

agreement, all statements made by him to law enforcement agents subsequent to the execution of

this plea agreement, any testimony given by him before a grand jury or any tribunal, or any leads

from such statements or testimony, shall be admissible against him in any and all criminal

proceedings. The defendant waives any rights that he might assert under the United States

Constitution, any statute, Rule 11(f) of the Federal Rules of Criminal Procedure, Rule 410 of the

Federal Rules of Evidence, or any other federal rule that pertains to the admissibility of any

statements made by him subsequent to this plea agreement.

       19.     Defendant’s Representations. The defendant acknowledges that he has entered

into this plea agreement freely and voluntarily after receiving the effective assistance, advice and

approval of counsel. The defendant acknowledges that he is satisfied with the assistance of

counsel, and that counsel has fully advised him of his rights and obligations in connection with

this plea agreement. The defendant further acknowledges that no threats or promises, other than

the promises contained in this plea agreement, have been made by the United States, the Court, his

attorneys, or any other party to induce him to enter his plea of guilty.

       20.     IRS Authority To Use Restitution Order as the Basis for a Civil Assessment.

If the Court orders the defendant to pay restitution to the Internal Revenue Service (“IRS”) for the

failure to pay tax, either directly as part of the sentence or as a condition of supervised release, the

IRS will use the restitution order as the basis for a civil assessment pursuant to 26 U.S.C. §

6201(a)(4). The defendant does not have the right to challenge the amount of this assessment

provided the civil assessment does not exceed the amount of the restitution order. See 26 U.S.C.

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§ 6201(a)(4)(C). Neither the existence of a restitution payment schedule nor the defendant’s timely

payment of restitution according to that schedule will preclude the IRS from administrative

collection of the restitution-based assessment, including levy and distraint under 26 U.S.C. § 6331.

       21.     No Undisclosed Terms. The United States and the defendant acknowledge and

agree that the above stated terms and conditions, together with any written supplemental agreement

that might be presented to the Court in camera, constitute the entire plea agreement between the

parties, and that any other terms and conditions not expressly set forth in this agreement or any

written supplemental agreement do not constitute any part of the parties’ agreement and will not

be enforceable against either party.

       22.     Standard of Interpretation. The parties agree that, unless the constitutional

implications inherent in plea agreements require otherwise, this plea agreement should be

interpreted according to general contract principles and the words employed are to be given their

normal and ordinary meanings. The parties further agree that, in interpreting this agreement, any




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drafting errors or ambiguities are not to be automatically construed against either party, whether

or not that party was involved in drafting or modifying this agreement.

                                      Timothy A. Garrison
                                      United States Attorney

                              By

Dated: July 10, 2018                         /s/ Patrick Carney
                                             Patrick Carney
                                             Assistant United States Attorney
                                             Kansas Bar No. 20254


Dated: July 10, 2018                         /s/ Casey Clark
                                             Casey Clark
                                             Assistant United States Attorney
                                             Missouri Bar No. 57968


I have consulted with my attorney and fully understand all of my rights with respect to the offense
charged in the superseding indictment. Further, I have consulted with my attorney and fully
understand my rights with respect to the provisions of the Sentencing Guidelines. I have read this
plea agreement and carefully reviewed every part of it with my attorney. I understand this plea
agreement and I voluntarily agree to it.


Dated: July 10, 2018                         /s/ Marty Layne Brickey
                                             Marty Layne Brickey
                                             Defendant


       I am defendant Marty Layne Brickey’s attorney. I have fully explained to him his rights
with respect to the offense charged in the superseding indictment. Further, I have reviewed with
him the provisions of the Sentencing Guidelines which might apply in this case. I have carefully
reviewed every part of this plea agreement with him. To my knowledge, Marty Layne Brickey’s
decision to enter into this plea agreement is an informed and voluntary one.


Dated: July 10, 2018                         /s/ Justin K. Gelfand
                                             Justin K. Gelfand
                                             of Margulis Gelfand, LLC, Partner
                                             Missouri Bar No. 62265
                                             Attorney for Defendant

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